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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-724V
                                    Filed: December 23, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
DEEPAK JESRANI,               *
                              *                               Special Master Hamilton-Fieldman
          Petitioner,         *
                              *                               Decision on Attorneys’ Fees and
v.                            *                               Costs; Reasonable Amount
                              *                               Requested to Which Respondent
SECRETARY OF HEALTH           *                               Does Not Object.
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
* * * * * * * * * * * * * * * *

Lisa A. Roquemore, Law Office of Lisa A. Roquemore, Irvine, CA, for Petitioner.
Lindsay Corliss, United States Department of Justice, Washington, D.C., for Respondent.

                                            DECISION 1

        On September 24, 2013, Deepak Jesrani (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that he suffered from Guillain-Barré syndrome (“GBS”) as a result of an
influenza (“flu”) vaccine administered to him on September 29, 2010. On September 25, 2014,
the undersigned issued a decision awarding compensation to Petitioner.

       On December 22, 2014, the parties filed a Stipulation of Facts Concerning Final
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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Attorneys’ Fees and Costs. The parties have agreed to an award of $45,000.00 for attorneys’
fees and costs. In accordance with General Order Number 9, Petitioner’s counsel represents that
Petitioner has incurred $400.00 in personal litigation costs in pursuit of his claim.

        The undersigned finds that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate, pursuant to
42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and
appropriate. Accordingly, the undersigned hereby awards the amount of $45,000.00, in the
form of a check made payable jointly to Petitioner and Petitioner’s counsel, Lisa
Roquemore, of the Law Office of Lisa A. Roquemore. The undersigned also awards the
amount of $400.00, in the form of a check made payable solely to Petitioner.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                 2
